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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF MISSISSIPPI
OXFORD DIVISION
LATOYA HARRIS,

PLAINTIFF,
VS. CIVIL ACTION NO, 3:20-cev-043-GHD-JIMV

MEDICAL FINANCIAL SERVICES, INC.,

DEFENDANT.

 

JUDGMENT GRANTING
SANCTIONS AGAINST ATTORNEY JACOB RICHARD BURNS
PURSUANT TO ORDER OF MAY 25, 2021

 

This cause came on to be heard upon the Motion of Defendant Medical Financial
Services, Inc. to Approve Amount of Attorney Fees and Costs to be Awarded as Sanctions
Against Attorney Jacob Richard Burns Pursuant to Order of May 25, 2021 [54]. Based upon the
Record herein, the Court finds said Motion to be well-taken, The Court notes that in their
Motion the Defendant sought an award of $24,975.00, equaling the amount of attorney fees and
costs charged to their client in this case up to the end of May 2021. However, the Court’s
Opinion [46] and Order [47] in this matter only extends to actions taken up to and including the
date of the publication of said Opinion and Order, i.e. May 25, 2021, Therefore, the final line
item in the evidentiary billing statements provided by the Defendant [54-2, at 21] should be
discounted from the total amount of sanctions, as it relates to actions undertaken on May 31,
2021, Thus, the Court awards $24,912.50, rather than $24,975.00, to the Defendant as sanctions
against Attorney Jacob Richard Burns for his failure to participate in this proceedings and his

effective disappearance from this case after November 10, 2020.

 
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iT IS THEREFORE ORDERED that Judgment is hereby entered in favor of Medical

Financial Services, Inc, and against Jaci
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SO ORDERED, this, the o/ day of October, 2021,

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op Richard Burns, Esq. in the amount of $24,912.50,

 

UNITED STATES DISTRICT JUDGE
